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  8                       UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10
       BEE, DENNING, INC., d/b/a                       Case No. 13-cv-2654-BAS-WVG
 11    PRACTICE PERFORMANCE
       GROUP; and GREGORY CHICK,                       ORDER:
 12    individually and on behalf of all others
       similarly situated,                             (1) GRANTING PLAINTIFFS’
 13                                                    MOTION FOR CLASS
                                       Plaintiffs,     CERTIFICATION
 14
              v.                                       (2) DENYING DEFENDANTS’
 15                                                    MOTION TO STRIKE
       CAPITAL ALLIANCE GROUP; and
 16    NARIN CHARANVATTANAKIT,
 17                                  Defendants.
 18

 19         Plaintiffs Bee, Denning, Inc. (“Bee”) and Gregory Chick (“Chick”) bring this
 20   putative class action against Defendants Capital Alliance Group (“Capital Alliance”)
 21   and Narin Charanvattanakit (“Narin”) alleging violations of the Telephone Consumer
 22   Protection Act (“TCPA”), 47 U.S.C. § 227. (ECF No. 6.) Plaintiffs now move for
 23   certification of two proposed classes pursuant to Federal Rule of Civil Procedure 23.
 24   (ECF No. 26 at Exh. A (“Pls.’ Mot.”)) Defendants filed an opposition—arguing
 25   generally that Plaintiffs failed to satisfy the requirements of Rule 23—to which
 26   Plaintiffs replied. (ECF No. 27; ECF No. 28). Defendants also move to strike as
 27   untimely the Declaration of Mary Reiten and Plaintiffs’ Motion for Class
 28   Certification. (ECF No. 27.)

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  1         The Court finds this motion suitable for determination on the papers submitted
  2   and without oral argument. See Civ. L.R. 7.1(d)(1). Therefore, the Court DENIES
  3   Plaintiffs’ ex parte motion for oral argument. (ECF No. 29.)
  4         For the reasons that follow, the Court DENIES Defendants’ Motion to Strike
  5   and GRANTS Plaintiffs’ Motion for Class Certification under Rule 23(b)(3), with the
  6   Court’s amendment to the automated call class definition as discussed below.
  7   I.    BACKGROUND
  8         The allegations at the heart of this case involve a familiar feature of the modern
  9   business and consumer landscape—telemarketing. Defendant Capital Alliance Group,
 10   a California corporation with its principal place of business in Santa Ana, CA, acts as
 11   a loan broker that matches investors (lenders) with small businesses seeking loans.
 12   (FAC 2:14–18; Pls.’ Mot. 2:5–12.) Defendant Narin is the CEO of Capital Alliance,
 13   and is responsible for the company’s daily operations, including sales and marketing
 14   activities. (Pls.’ Mot. 3:3–4:5.) Plaintiff Bee, a consulting company based in La Jolla,
 15   CA, alleges that on or about August 14, 2013, it received from Capital Alliance an
 16   unsolicited fax advertisement offering a “fast and simple” short-term business loan in
 17   violation of the TCPA. (FAC 5:3–6.) Bee received similar faxes from Defendants on
 18   September 9, 2013 and September 23, 2013. (FAC 5:19–20.) These fax
 19   advertisements—which are substantially similar in form and content—do not list
 20   Capital Alliance as the company offering the loan, but instead use different company
 21   names, such as “Community Business Funding.” (Pls.’ Mot. 5:18–6:5.) However,
 22   when Bee called the number listed on one of the faxes, Bee was ultimately directed to
 23   a live representative of Capital Alliance. (FAC 5:7–16.) Plaintiffs assert that Capital
 24   Alliance uses at least eleven aliases to disguise the fact that the fax advertisements are
 25   sent on its behalf. (Pls.’ Mot. 4.) Bee did not provide prior express consent to receive
 26   fax advertisements from Capital Alliance, nor did it have an established business
 27   relationship with Capital Alliance. (FAC 5:24–28.)
 28         Plaintiff Bee contends that several other small business owners have similarly

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  1   received unsolicited “junk faxes” from Capital Alliance in violation of the TCPA.
  2   (Pls.’ Mot. 4:6–7:4.) In each instance, the allegations and supporting declarations
  3   involve a strikingly similar set of circumstances: (1) a person receives an unsolicited
  4   fax advertisement offering a business loan from a company with a nondescript name
  5   such as “Community Business Funding,” “Community,” or “Snap Business Funding”;
  6   (2) the fax directs the recipient to call a toll-free number or visit a website listed on
  7   the fax to start the loan application process; and (3) calls made to the toll-free numbers
  8   listed on these fax advertisements, more often than not, ultimately connect to Capital
  9   Alliance.1 (Hoover Decl. 3:6–11.) In short, the fax advertisements contain different
 10   company names and toll-free numbers, but they are ultimately traceable to Capital
 11   Alliance.
 12          According to Bee, Defendants contracted with a third-party vendor, Absolute
 13   Fax, to solicit business through these junk faxes on Defendants’ behalf. (Pls.’ Mot.
 14   2:13–18.) Defendant Narin acknowledges that Absolute Fax is the only fax vendor
 15   Defendants retained to “generate leads” and “make[] the phone[s] ring,” but maintains
 16   that Defendants did not pay Absolute Fax to send facsimiles “to any person, for any
 17   reason.” (Defs.’ Opp’n 4:1–2.) Absolute Fax is exclusively in the business of fax
 18   marketing. (Pls.’ Mot. 2:16–17.)
 19          For his part, Plaintiff Chick alleges that on or about December 6, 2013, he
 20   received an automated call with a prerecorded message to his cell phone from the
 21   phone number 888-364-6330. (FAC 6:18–22.) The prerecorded message related to
 22   preapproval for a business loan. (FAC 6:19–20.) When a caller dials 888-364-6330,
 23   the call is answered by an automated answering system that ultimately connects to
 24   Capital Alliance. (FAC 6:24–7:2.) Chick alleges that this and like calls violate the
 25   TCPA’s prohibition on prerecorded voice calls. (FAC 6:18–7:10.) Defendant Narin
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 27    Plaintiffs assert that the reason some of the toll-free numbers listed on the unsolicited fax
      advertisements did not ultimately connect to Capital Alliance was because those numbers were
 28   either (1) disconnected or (2) in service, but connected to answering machine messages that
      contained no identifying information. (Hoover Decl. 3:8–11.)
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  1   acknowledges that Capital Alliance contracted with a company named Marketing
  2   Communications to generate leads, and admits that he provided the “gist of the
  3   content” for the prerecorded messages Marketing Communications used to advertise
  4   Capital Alliance’s product. (Reiten Decl. 21:21–24:23.)
  5          Plaintiffs allege that Defendants violated two separate provisions of the TCPA.
  6   The first, 47 U.S.C. § 227(b)(1)(C), makes it unlawful “to use any telephone facsimile
  7   machine, computer, or other device to send, to a telephone facsimile machine, an
  8   unsolicited advertisement,” unless the sender has an “established business
  9   relationship” and meets other conditions.2 The second provision at issue, 47 U.S.C. §
 10   227(b)(1)(A), makes it unlawful “to make any call . . . using any automatic telephone
 11   dialing system or an artificial or prerecorded voice . . . to any telephone number
 12   assigned to a . . . cellular telephone service[.]” The statute creates a private right of
 13   action, providing for $500 or the actual monetary loss in damages for each violation,
 14   and treble damages for each willful or knowing violation. 47 U.S.C. § 227(b)(3).
 15          Plaintiffs filed this putative class action on behalf of a nationwide class of
 16   individuals who received unsolicited fax advertisements sent by or on behalf of
 17   Capital Alliance, or who received telephone calls made by or on behalf of Capital
 18   Alliance using a prerecorded voice. Plaintiffs now move to certify the following two
 19   classes pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3):
 20          Junk Fax Class: All persons or entities in the United States who, on or after
 21          four years before the filing of this action, were sent by or on behalf of
 22          Defendants one or more unsolicited advertisements by telephone facsimile
 23          machine that bears the business name Community, Community Business
 24          Funding, Fast Working Capital, Snap Business Funding, Zoom Capital,
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       Under the TCPA’s implementing regulations, a fax “sender” is defined as “the person or entity on
 27   whose behalf a facsimile unsolicited advertisement is sent or whose goods or services are
      advertised or promoted in the unsolicited advertisement.” 47 C.F.R. § 64.1200(f)(10) (emphasis
 28   added). Thus, under this definition, a company can “send” an unsolicited fax advertisement without
      directly participating in the physical transmission of such a fax.
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  1         Nextday Business Loans, 3DayLoans, Bank Capital, FundQuik, Prompt, or
  2         Simple Business Funding.
  3         Automated Call Class: All persons or entities in the United States who, on or
  4         after four years before the filing of this action received a call on either their
  5         cellular or residential telephone line with a prerecorded message from 888-364-
  6         6330 that was made on [sic] or on behalf of Defendants.
  7   (Pls.’ Mot. 12:3–15.)
  8         As a preliminary matter, the Court finds that Plaintiffs’ Motion for Class
  9   Certification impermissibly expands the automated call class proposed in Plaintiffs’
 10   First Amended Complaint. Plaintiffs’ Motion for Class Certification seeks to certify a
 11   class comprising “[a]ll persons . . . who . . . received a call on either their cellular or
 12   residential telephone line with a prerecorded message . . . made [by] or on behalf of
 13   Defendants,” whereas Plaintiffs’ First Amended Complaint references only persons
 14   who received a call on their cellular phone. (Pls.’ Mot. 10, 12.) This Plaintiffs cannot
 15   do. “The Court is bound to class definitions provided in the complaint and, absent an
 16   amended complaint, will not consider certification beyond it.” Costelo v. Chertoff, 258
 17   F.R.D. 600, 604–05 (C.D. Cal. 2009). The primary exception to this principle is when
 18   a plaintiff proposes a new class definition that is narrower than the class definition
 19   originally proposed, and does not involve a new claim for relief. See Abdeljalil v. Gen.
 20   Elec. Capital Corp., 306 F.R.D. 303 (S.D. Cal. 2015) (permitting plaintiff to propose
 21   a new class definition in his motion for class certification when the new definition was
 22   “simply a narrower version of the class definition presented in the [amended
 23   complaint]”); Knutson v. Schwan’s Home Serv., Inc., No. 3:12-cv-0964-GPC-DHB,
 24   2013 WL 4774763, at *5 (S.D. Cal. Sep. 5, 2013) (allowing plaintiffs to propose a
 25   class definition narrower than the class alleged in plaintiffs’ second amended
 26   complaint when the new definition “include[d] individuals that were allegedly called
 27   in violation of the same subsection of the TCPA”). Here, however, Plaintiffs’
 28   inclusion in the automated call class of persons who received a call to their residential

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  1   telephone line involves an entirely different subsection of the TCPA, and thus raises
  2   a new claim for relief not alleged by Plaintiffs in their complaint. Compare 47 U.S.C.
  3   § 227(b)(1)(A)(iii) with 47 U.S.C. § 227(b)(1)(B). Therefore, the Court will consider
  4   only an automated call class limited to persons receiving prerecorded voice calls to
  5   their cell phone. Accordingly, the Court amends the automated call class definition as
  6   follows:
  7         Automated Call Class: All persons or entities in the United States who, on or
  8         after four years before the filing of this action received a call to their cellular
  9         telephone with a prerecorded message from 888-364-6330 that was made by or
 10         on behalf of Defendants.
 11   II.   DEFENDANTS’ MOTION TO STRIKE
 12         Before turning to the legal standard for class certification, the Court first
 13   addresses Defendants’ motion to strike as untimely the Reiten Declaration, and
 14   exhibits attached thereto, and Plaintiffs’ Motion for Class Certification. (Defs.’ Opp’n
 15   16:2–16.) Plaintiffs filed the Reiten Declaration and accompanying exhibits shortly
 16   after the September 5, 2014 filing deadline. Five days later, on September 10, 2014,
 17   Plaintiffs curiously withdrew their original Motion for Class Certification and
 18   replaced as an attachment to the notice of withdrawal a “substitute” Motion for Class
 19   Certification. (ECF No. 23; ECF No. 26.) Defendants argue that Plaintiffs’ withdrawal
 20   and resubmission of the Motion for Class Certification on September 10, 2014
 21   prejudiced Defendants by “shorten[ing] the time allowed for Defendants to respond.”
 22   (Defs.’ Opp’n 16:12–13.)
 23         Although the Court does not condone untimely filings, and will not hesitate to
 24   strike filings as untimely when circumstances warrant, the Court finds that in this case
 25   Defendants suffered no prejudice due to Plaintiffs’ tardiness. The Reiten Declaration
 26   was filed five minutes after the filing deadline and a review of the “original” and
 27   “substitute” Motions for Class Certification confirm Plaintiffs’ assertion that the
 28   substitute motion addresses typographical and other minor errors in the original filing.

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  1   Under these circumstances, the Court is convinced that Plaintiffs’ actions—while not
  2   an exemplar of professional lawyering—did not constitute bad faith and did not
  3   impact the substance of Defendants’ response. Accordingly, the Court denies
  4   Defendants’ motion to strike. See Grabenstein v. A.O. Smith Corp., No. MDL 875,
  5   2:11-CV-63929-ER, 2012 WL 2849389, at *1 (E.D. Penn. Apr. 2, 2012) (denying a
  6   motion to strike an untimely filing “in light of the lack of prejudice to Plaintiff and the
  7   Court’s significant interest in deciding cases on the merits”); Adams v. City of Laredo,
  8   No. L-08-165, 2011 WL 1988750, at *4 n. 6 (S.D. Tex. May 19, 2011) (denying
  9   motions to strike filings as untimely where the delay was minimal and neither party
 10   was prejudiced).
 11   III.   LEGAL STANDARD FOR CLASS CERTIFICATION
 12          Class actions are governed by Federal Rule of Civil Procedure 23. Under Rule
 13   23, the party seeking class certification must meet the four prerequisites of Rule
 14   23(a)—numerosity, commonality, typicality, and adequacy—and at least one of the
 15   requirements of Rule 23(b). Ellis v. Costco Wholesale Corp., 657 F.3d 970, 979–80
 16   (9th Cir. 2011). Here, Plaintiffs rely on Rule 23(b)(3), which is satisfied if the court
 17   finds that common issues predominate over individual ones, and that a class action is
 18   superior to other available methods for adjudicating the controversy. Fed. R. Civ. P.
 19   23(b)(3). The party seeking class certification bears the burden of demonstrating that
 20   the Rule 23(a) and Rule 23(b) requirements have been met. Wal-Mart Stores, Inc. v.
 21   Dukes, 564 U.S. — , 131 S.Ct. 2541, 2551 (2011); Zinser v. Accufix Research Inst.,
 22   Inc., 253 F.3d 1180, 1186 (9th Cir. 2001) (citation omitted).
 23          Apart from the express requirements of Rule 23, federal courts have also held
 24   that a class must be “adequately defined and clearly ascertainable” to be certified.
 25   Schwartz v. Upper Deck Co., 183 F.R.D. 672, 679–80 (S.D. Cal. 1999). “A class is
 26   ascertainable if it is defined by objective criteria and if it is administratively feasible
 27   to determine whether a particular individual is a member of the class.” Bruton v.
 28   Gerber Prod. Co., No. 12-CV-02412-LHK, 2014 WL 2860995, at *4 (N.D. Cal. June

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  1   23, 2014); see also Moreno v. AutoZone, Inc., 251 F.R.D. 417, 421 (N.D. Cal. 2008)
  2   (“A class is ascertainable if it identifies a group of unnamed plaintiffs by describing a
  3   set of common characteristics sufficient to allow a member of that group to identify
  4   himself or herself as having the right to recover based on the description.”) (citation
  5   omitted), vacated on other grounds, No. CV 05-4432 CRB, 2009 WL 3320489.
  6   Although a party seeking class certification must demonstrate that the class is readily
  7   identifiable, “the class need not be so ascertainable that every potential member can
  8   be identified at the commencement of the action.” Guzman v. Bridgepoint Educ., Inc.,
  9   305 F.R.D. 594 (S.D. Cal. 2015) (citation omitted). However, if a court must
 10   substantially investigate the merits of individual claims to determine class
 11   membership, or if membership in the class depends upon subjective factors such as a
 12   prospective member’s intent or state of mind, then the class likely lacks
 13   ascertainability and class certification is improper. Hanni v. Am. Airlines, Inc., No. C
 14   08-00732 CW, 2010 WL 289297, at *9 (N.D. Cal. Jan. 15, 2010); Schwartz, 183
 15   F.R.D. at 679.
 16         District courts have broad discretion in deciding whether to certify a class.
 17   Bateman v. Am. Multi-Cinema, Inc., 623 F.3d 708, 712 (9th Cir. 2010) (“The decision
 18   to grant or deny class certification is within the trial court’s discretion.”); Armstrong
 19   v. Davis, 275 F.3d 849, 871 n. 28 (9th Cir. 2001) (“Federal Rule of Civil Procedure
 20   23 provides district courts with broad discretion to determine whether a class should
 21   be certified[.]”), abrogated on other grounds, Johnson v. California, 543 U.S. 499
 22   (2005). In exercising this discretion, a trial court must conduct a “rigorous analysis”
 23   to ensure the Rule 23 requirements have been satisfied. Dukes, 564 U.S. — , 131 S.Ct.
 24   at 2551. Although this analysis should not resolve the merits of plaintiff’s underlying
 25   claim, the court must consider the merits if the merits overlap with the Rule 23
 26   requirements. Id., 131 S.Ct. at 2551–52; Comcast Corp. v. Behrend, 569 U.S. —, 133
 27   S.Ct. 1426, 1432 (2013); Ellis, 657 F.3d at 980. Finally, a district court reviewing a
 28   motion for class certification “is required to consider the nature and range of proof

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  1   necessary to establish [the] allegations” of the complaint, even as it “is bound to take
  2   the substantive allegations of the complaint as true.” In re Coordinated Pretrial
  3   Proceedings in Petroleum Prod. Antitrust Litig., 691 F.2d 1335 (9th Cir. 1982) (citing
  4   Blackie v. Barrack, 524 F.2d 891, 901 n. 7 (9th Cir. 1975)).
  5   IV.   ANALYSIS
  6         Defendants oppose Plaintiffs’ Motion for Class Certification on the grounds
  7   that the proposed classes lack ascertainability, fail to satisfy the Rule 23(a)
  8   prerequisites of numerosity, commonality, typicality and adequacy, and fail to meet
  9   the predominance and superiority requirements of Rule 23(b)(3). We consider
 10   Defendants’ arguments in seriatim.
 11         A.     Ascertainability
 12         Plaintiffs suggest that the junk fax class is ascertainable because (1) the class is
 13   defined by reference to objective criteria, namely, aliases used on the fax
 14   advertisements that are traceable to Capital Alliance and (2) the class can be identified
 15   by using call logs to determine the unique numbers that called the toll-free numbers
 16   listed on the fax advertisements, and then using reverse look-up technology to identify
 17   the persons to whom the faxes were sent. (Pls.’ Mot. 4:19–26.) Defendants argue,
 18   somewhat obliquely, that this is insufficient because “Plaintiffs have produced only
 19   phone numbers of callers from various call records” with “no evidence connecting
 20   these callers to Defendants, or to Defendants’ third party vendors.” (Defs.’ Opp’n 7:9–
 21   11.) Defendants further claim that “there is no evidence that any of these callers [listed
 22   in the call records] ever received a fax.” (Defs.’ Opp’n 7:11–12.) Underlying
 23   Defendants’ otherwise conclusory objections is the theory that ascertainability cannot
 24   be met here because none of the fax advertisements at issue actually listed the name
 25   “Capital Alliance.”
 26         Defendants’ arguments are unavailing. First, Plaintiffs are not required to
 27   precisely identify every potential member of the class to meet the standard for
 28   ascertainability. Plaintiffs need only proffer objective criteria that makes identification

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  1   of the class administratively feasible. Bruton, 2014 WL 2860995, at *4. This Plaintiffs
  2   have done. Plaintiffs assert that at least eleven different aliases used on the fax
  3   advertisements are traceable to Capital Alliance, and offer evidence—in the form of
  4   exhibits, call logs, and affidavits—demonstrating this connection. (Pls.’ Mot. 4:8–
  5   6:24.) Plaintiffs then define the class with reference to these eleven aliases, providing
  6   a straightforward means of determining membership in the putative class: persons who
  7   were sent an unsolicited fax advertisement bearing the name of one of the eleven
  8   alleged Capital Alliance aliases are members; persons who were not sent a fax
  9   advertisement with one of these aliases are not members. Defendants cannot defeat
 10   ascertainability simply because they might have taken additional steps to disguise their
 11   connection to the advertisements.
 12         Second, Plaintiffs’ intent to use reverse look-up technology to identify persons
 13   who called the toll-free numbers listed on the fax advertisements is an objective
 14   approach that reinforces the ascertainability of the class. Booth v. Appstack, Inc., No.
 15   C13-1533JLR, 2015 WL 1466247, at *4 (W.D. Wash. Mar. 30, 2015) (finding TCPA
 16   class ascertainable when plaintiffs intended to rely on telephone carrier records and
 17   reverse look-up directories to identify class members); Kristensen v. Credit Payment
 18   Serv., 12 F.Supp.3d 1292 (D. Nev. 2014) (explaining that data from a cellular
 19   telephone provider’s call records is objective criteria that can be used to identify
 20   individual class members); G.M. Sign, Inc. v. Finish Thompson, Inc., No. 07 C 5953,
 21   2009 WL 2581324, at *4 (N.D. Ill. Aug. 20, 2009) (finding TCPA class ascertainable
 22   because “[plaintiff] may use the log and fax numbers to ‘work backwards’ to locate
 23   and identify the exact entities to whom the fax was sent”). Defendants argue that there
 24   is no evidence that any of the unidentified callers from the call logs ever received a
 25   fax, but Defendants offer no theory, or even assertion, that the numbers listed on the
 26   fax advertisements could have come from somewhere else. Furthermore, to the extent
 27   that a number listed on one of the fax advertisements was dialed by a person in error,
 28   that person will not qualify as a class member because the class is ultimately defined

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  1   as persons who were sent a fax bearing the name of a Capital Alliance alias.
  2   Accordingly, the Court finds the proposed junk fax class sufficiently definite to meet
  3   the ascertainability requirement.
  4         Plaintiffs’ proposed automated call class also meets the requirement for
  5   ascertainability. As with the junk fax class, Plaintiffs propose to use reverse look-up
  6   technology to identify potential class members who received a call from 888-364-
  7   6330, the toll-free number Plaintiffs trace to Capital Alliance. (Pls.’ Mot. 25:1–9.)
  8   Defendants argue that the automated call class is not ascertainable because there is no
  9   evidence that unknown class members received calls to their cell phone as opposed to
 10   their residential line. (Defs.’ Opp’n 12:9–13.) Although this argument has merit, it is
 11   largely beside the point given the Court’s responsibility to ignore Plaintiffs’ attempt
 12   to expand the automated call class. As the Court explains above, the automated call
 13   class under review for certification is limited to persons who received a prerecorded
 14   voice call to their cell phone. These call recipients are readily identifiable using the
 15   same reverse look-up approach that Plaintiffs plan to use to identify members of the
 16   junk fax class. Thus, Defendants’ challenge to the automated call class on
 17   ascertainability grounds fails.
 18         In sum, the Court finds that both the junk fax class and automated call class are
 19   readily ascertainable.
 20         B.     Rule 23(a)(1)–Numerosity
 21         Rule 23(a)(1) requires that the class be “so numerous that joinder of all
 22   members is impracticable.” Fed. R. Civ. P. 23(a)(1). Although there is no absolute
 23   threshold, courts generally find numerosity satisfied when the class includes at least
 24   forty members. Gomez v. Rossi Concrete, Inc., 270 F.R.D. 579, 588 (S.D. Cal. 2010);
 25   Celano v. Marriott Int’l, Inc., 242 F.R.D. 544, 549 (N.D. Cal. 2007) (“[C]ourts
 26   generally find that the numerosity factor is satisfied if the class comprises 40 or more
 27   members and will find that it has not been satisfied when the class comprises 21 or
 28   fewer.”). Numerical threshold aside, the central question underlying the numerosity

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  1   requirement “is whether Plaintiffs have sufficiently identified and demonstrated the
  2   existence of the numbers of persons for whom they speak.” Schwartz, 183 F.R.D. at
  3   680–81. “Plaintiffs must show some evidence of or reasonably estimate the number
  4   of class members.” Id. at 681.
  5         Here, Defendants argue that Plaintiffs have not satisfied numerosity because
  6   “Plaintiffs submit no actual evidence that Defendants are linked to the alleged class
  7   members.” (Defs.’ Opp’n 11:24–25.) That argument runs contrary to the record.
  8   Plaintiffs have presented substantial, if imperfect, evidence distilling the number of
  9   unique telephone numbers associated with the unsolicited fax advertisements
 10   allegedly sent on behalf of Capital Alliance. According to Plaintiffs, this evidence
 11   indicates that the junk fax class surpasses 450,000 members. (Hoover Decl. 9–13.)
 12   Even if this overstates the case, the most conservative estimate limited to unique
 13   telephone calls made to toll-free numbers directly linked to Capital Alliance aliases
 14   still yields more than 150,000 potential class members. (Hoover Decl. 9:23–10:4.)
 15   This reasonable estimate, rooted in evidence, is more than sufficient to satisfy
 16   numerosity.
 17         With respect to the automated call class, Plaintiffs have presented evidence
 18   identifying more than 33,000 unique telephone numbers that called the toll-free
 19   number responsible for the prerecorded voice call to Plaintiff Chick. (Hoover Decl.
 20   10:24–11:4.) This potential class of more than 33,000 presumably includes persons
 21   who received calls to their residential telephone lines, and who thus would not be part
 22   of the automated call class under review by the Court. But even if only a fraction of
 23   these 33,000 unique telephone numbers are assigned to a cell phone, and thus eligible
 24   for class membership, Plaintiffs have clearly met their burden to demonstrate
 25   numerosity. See Hodges v. Akeena Solar, Inc., 274 F.R.D. 259, 266 (N.D. Cal. 2011)
 26   (“A class of one thousand members ‘clearly satisfies the numerosity requirement.’”)
 27   (citation omitted). Accordingly, the Court finds that the numerosity requirement has
 28   been satisfied as to both the junk fax class and automated call class.

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  1           C.    Rule 23(a)(2)–Commonality
  2           To satisfy Rule 23(a)(2), a party seeking class certification must demonstrate
  3   that there are “questions of law or fact common to the class.” Fed. R. Civ. P. 23(a)(2).
  4   The commonality requirement will be met only if plaintiff shows that “the class
  5   members have suffered the same injury.” Dukes, 564 U.S. — , 131 S.Ct. at 2551
  6   (quotation marks and citation omitted). This does not mean that the claims of every
  7   member of the putative class must stem from identical factual circumstances. Hanlon
  8   v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998) (“The existence of shared legal
  9   issues with divergent factual predicates is sufficient [for commonality], as is a
 10   common core of salient facts coupled with disparate legal remedies within the class.”).
 11   Instead, the core concern of the inquiry is that the common contention at the heart of
 12   the claims be capable of classwide resolution—“which means that determination of
 13   its truth or falsity will resolve an issue that is central to the validity of each of the
 14   claims in one stroke.” Meyer v. Portfolio Recovery Assoc., LLC, 707 F.3d 1036, 1041–
 15   42 (9th Cir. 2012) (quoting Dukes, 564 U.S. — , 131 S.Ct. at 2551). “What matters to
 16   class certification” is “the capacity of a classwide proceeding to generate common
 17   answers apt to drive the resolution of the litigation.” Dukes, 564 U.S. — , 131 S.Ct. at
 18   2551.
 19           Plaintiffs assert that the core issue underlying each of the proposed classes is
 20   whether Capital Alliance engaged in the prohibited conduct. According to Plaintiffs,
 21   the common questions of law and fact include: (1) whether Capital Alliance, or
 22   persons acting on its behalf, sent unsolicited fax advertisements or made automated
 23   calls using a prerecorded voice message; (2) whether Defendants’ conduct was willful
 24   or negligent; and (3) whether Defendant Narin is directly or vicariously liable for the
 25   fax advertisements sent or the automated calls made. (Pls.’ Mot. 20–22.) Defendants
 26   argue that Plaintiffs do not satisfy the commonality requirement because “there is no
 27   evidence that the alleged facts are common to all proposed class members, nor is there
 28   sufficient evidence that the claims of the proposed class members arise out of a

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  1   common nucleus of operative facts.” (Defs. Opp’n 2:21–24; 14:18–19.) In
  2   Defendants’ view, this purported lack of evidence means that the TCPA “cannot be a
  3   common nucleus of law in the case.” (Defs.’ Opp’n 14:24–25.)
  4         Defendants’ argument, again, runs contrary to the record. Plaintiffs’ evidence
  5   is clearly sufficient to establish commonality. Plaintiffs have presented testimony and
  6   exhibits to connect the various aliases and toll-free numbers used on different fax
  7   advertisements to Capital Alliance. (See generally Hoover Decl.) They have presented
  8   call-log evidence demonstrating that hundreds of thousands of other persons may have
  9   been on the receiving end of one or more of these fax advertisements. Such evidence
 10   and allegations provide the thread of common facts that the commonality requirement
 11   demands. See, e.g., Malta v. Fed. Home Loan Mortg. Corp., 2013 WL 444619, at *2
 12   (S.D. Cal. Feb. 5, 2013) (finding commonality satisfied where “the proposed class
 13   members’ claims stem from the same factual circumstances”). Furthermore, whether
 14   Capital Alliance, or persons acting on its behalf, sent the fax advertisements in
 15   violation of the TCPA clearly involves a common question of law that will drive
 16   resolution of the classwide claims.
 17         With respect to the automated call class, Plaintiffs have submitted evidence that
 18   more than 30,000 persons received a prerecorded voice call from 888-364-6330, a
 19   number allegedly traceable to Capital Alliance. (Hoover Decl. 10:24–11:4.) This
 20   evidence demonstrates a common nucleus of operative facts binding together
 21   members of the automated call class. Whether these calls were made by or on behalf
 22   of Capital Alliance is a question for which the answer will determine the claims of the
 23   putative class members. This is all that commonality requires.
 24         In the case of both the junk fax class and automated call class, the Court finds
 25   that classwide proceedings will “generate common answers” likely to “drive the
 26   resolution of the litigation.” Dukes, 564 U.S. — , 131 S.Ct. at 2551. Accordingly,
 27   Plaintiffs have satisfied the commonality requirement as to both classes.
 28         D.     Rule 23(a)(3)–Typicality

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  1         Rule 23(a)(3) requires that “the claims and defenses of the representative parties
  2   are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). The
  3   standard is a “permissive” one and requires only that the claims of the class
  4   representatives be “reasonably co-extensive with those of absent class members; they
  5   need not be substantially identical.” Hanlon, 150 F.3d at 1020. Typicality is satisfied
  6   “when each class member’s claim arises from the same course of events, and each
  7   class member makes similar legal arguments to prove defendant’s liability.”
  8   Rodriquez v. Hayes, 591 F.3d 1105, 1124 (9th Cir. 2009) (citation omitted); see also
  9   Hanon v. Dataprod. Corp., 976 F.2d 497, 508 (9th Cir. 1992) (“The test of typicality
 10   is whether other members have the same or similar injury, whether the action is based
 11   on conduct which is not unique to the named plaintiffs, and whether other class
 12   members have been injured by the same course of conduct.”). “The purpose of the
 13   typicality requirement is to assure that the interest of the named representative aligns
 14   with the interests of the class.” Hanon, 976 F.2d at 508.
 15         Plaintiffs argue that their claims are typical of the claims of the unnamed class
 16   members because “they arise from the same conduct of Defendants”—alleged
 17   violations of the TCPA—“and are based on the same legal theories.” (Pls.’ Mot.
 18   18:11–14.) This Court agrees with Plaintiffs. Plaintiff Bee’s claims are typical of the
 19   junk fax class because she alleges that Defendants sent the same or similar unsolicited
 20   fax advertisements to putative class members. Plaintiff Chick’s claims are typical of
 21   the automated call class, as amended by the Court, because he alleges that other
 22   unnamed members of class received the same prerecorded voice call from the same
 23   toll-free number traceable to Defendants. Under these circumstances, the typicality
 24   requirement is satisfied. See, e.g., Knutson, 2013 WL 4774763, at *8 (finding
 25   typicality satisfied where Plaintiffs asserted they received autodialed and/or
 26   prerecorded calls from Defendants, “and the proposed class [was] defined to include
 27   individuals who received the same type of calls”); Kavu, Inc. v. Omnipak Corp., 246
 28   F.R.D. 642, 648 (W.D. Wash. 2007) (finding typicality satisfied where named plaintiff

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  1   and putative class members allegedly received unsolicited fax advertisements from
  2   defendant).
  3         Defendants argue that Plaintiff Bee’s claims are not typical of other members
  4   of the junk fax class because there is no evidence that the unsolicited fax
  5   advertisements were sent by Capital Alliance or by a third-party vendor working on
  6   its behalf. (Defs.’ Opp’n 12:19–25.) As the Court explains above, however, it is simply
  7   not the case that Plaintiffs have failed to present such evidence. To the contrary,
  8   Plaintiffs have produced evidence linking the aliases and toll-free numbers listed on
  9   the fax advertisements to Capital Alliance, and the putative junk fax class is limited
 10   to recipients of those same types of faxes. Thus, Plaintiff Bee’s claims are typical of
 11   the claims of the putative junk fax class. Defendants also argue, with somewhat more
 12   justification, that Plaintiff Chick’s claims cannot be typical of the automated call class
 13   because he did not receive a prohibited call to his residential line, but rather to his cell
 14   phone. (Defs.’ Opp’n 12:9–18.) However, in light of the Court’s refusal to allow
 15   Plaintiffs to expand the scope of the automated call class to include persons who
 16   received a call to their residential line, Defendants’ argument is unavailing. The
 17   automated call class under review consists only of persons who received a prohibited
 18   call to their cell phone from a single toll-free number allegedly traceable to Capital
 19   Alliance. This is the precise injury and course of conduct that underlies Plaintiff
 20   Chick’s claim. Thus, Plaintiff Chick’s claims are typical of the claims of the
 21   automated call class.
 22         In sum, the Court finds that Plaintiffs have satisfied the typicality requirement
 23   as to both the junk fax class and automated call class.
 24         E.      Rule 23(a)(4)–Adequacy of Representation
 25         The final requirement of Rule 23(a) is that “the representative parties will fairly
 26   and adequately protect the interest of the class.” Fed. R. Civ. P. 23(a)(4). “To
 27   determine whether named plaintiffs will adequately represent a class, courts must
 28   resolve two questions: (1) do the named plaintiffs and their counsel have any conflicts

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  1   of interest with other class members and (2) will the named plaintiffs and their counsel
  2   prosecute the action vigorously on behalf of the class?” Ellis, 657 F.3d at 985 (internal
  3   quotation marks and citation omitted). This requirement ensures due process for
  4   absent class members who, upon entry of judgment in a class proceeding, must forfeit
  5   their right to bring an individual claim. See Hanlon, 150 F.3d at 1020 (“To satisfy
  6   constitutional due process concerns, absent class members must be afforded adequate
  7   representation before entry of a judgment which binds them.”) (citation omitted); see
  8   also Jay Tidmarsh, Rethinking Adequacy of Representation, 87 Tex. L. Rev. 1137,
  9   1139 (2009) (“Class actions constitute an exception to the principle of individual
 10   autonomy, and adequate representation—traditionally understood to require the
 11   avoidance of conflicts of interest or collusion—acts as the antidote to the self-interest
 12   of the class representative and class counsel.”).
 13         Here, Plaintiffs have met their burden to demonstrate adequacy of
 14   representation. First, the interests of the representative parties are clear—to receive
 15   compensation for alleged violations of the TCPA and to deter Defendants from
 16   engaging in the alleged conduct—and are aligned with the interests of the putative
 17   class as a whole. Second, there is nothing to suggest that the named plaintiffs or their
 18   counsel have any conflicts of interest with other class members such that class
 19   certification raises due process concerns. Third, there is no indication that the named
 20   plaintiffs and their counsel lack the incentive to prosecute this action vigorously—
 21   indeed, they have done so thus far. Finally, Plaintiffs’ counsel have provided
 22   undisputed documentation of their experience litigating consumer class actions in
 23   general, and TCPA class actions in particular, to demonstrate their competency.
 24   (Terrell Decl. 2–5.); see Knutson, 2013 WL 4774763, at *8 (finding adequacy satisfied
 25   based partly upon “Plaintiffs’ unchallenged representation that their counsel is
 26   competent in prosecuting class actions and is experienced in TCPA litigation”). All of
 27   these factors support a finding of adequacy.
 28         Defendants’ only challenge on adequacy grounds is that neither Plaintiff Bee

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  1   nor Plaintiff Chick can adequately represent the interest of the proposed classes
  2   because neither has produced evidence that they have suffered an injury under the
  3   TCPA. (Defs.’ Opp’n 13:11–18.) This is factually incorrect. As the Court’s recitation
  4   of the evidence in other sections of this order demonstrates, Plaintiffs have produced
  5   extensive evidence supporting an allegation that Plaintiffs have suffered an injury
  6   under the TCPA due to Defendants’ conduct. Defendants’ bare assertion to the
  7   contrary does not undercut the showing of adequacy made here. Accordingly, the
  8   Court finds that Plaintiffs have satisfied the adequacy requirement as to both classes.
  9         F.     Rule 23(b)(3)–Predominance and Superiority
 10                1.    Predominance
 11         “The predominance inquiry focuses on ‘the relationship between the common
 12   and individual issues’ and ‘tests whether proposed classes are sufficiently cohesive to
 13   warrant adjudication by representation.’” Vinole v. Countrywide Home Loans, Inc.,
 14   571 F.3d 935, 944 (9th Cir. 2009) (citing Hanlon, 150 F.3d at 1022). The focus of the
 15   inquiry is not the presence or absence of commonality as it is under Rule 23(a)(2).
 16   Instead, the predominance requirement ensures that common questions “present a
 17   significant aspect of the case” such that “there is clear justification”—in terms of
 18   efficiency and judicial economy—for resolving those questions in a single
 19   adjudication. Hanlon, 150 F.3d at 1022 (citation omitted); see also Vinole, 571 F.3d
 20   at 944 (“[A] central concern of the Rule 23(b)(3) predominance test is whether
 21   adjudication of common issues will help achieve judicial economy.”); Zinser, 253
 22   F.3d at 1189 (“Implicit in the satisfaction of the predominance test is the notion that
 23   the adjudication of common issues will help achieve judicial economy.”) (citation
 24   omitted). This requirement is satisfied when a common nucleus of facts and law is the
 25   central feature of the litigation, and when “Plaintiffs have shown that there are
 26   plausible classwide methods of proof available to prove their claims.” Wolph v. Acer
 27   Am. Corp., 272 F.R.D. 477, 487 (N.D. Cal. 2011) (citation omitted); see also Hanlon,
 28   150 F.3d at 1022. However, “[c]ommon questions do not predominate if the resolution

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  1   of an overarching common issue breaks down into an unmanageable variety of
  2   individual legal and factual issues leading to an inordinate number of evidentiary
  3   hearings.” Kristensen, 12 F.Supp.3d at 1306 (citation omitted).
  4         The Court finds that Plaintiffs have demonstrated that common issues—
  5   including whether Defendants were responsible for the unsolicited fax advertisements
  6   and automated calls; whether Defendants’ marketing practices violated the TCPA; and
  7   whether Defendant Narin can be held directly or vicariously liable—predominate in
  8   this case. These questions can be answered with generalized evidence applicable on a
  9   class-wide basis; individualized inquiries specific to each class member would not be
 10   required to establish liability. With respect to the junk fax class, Plaintiffs’ theory is
 11   that Capital Alliance or its third-party vendor sent unsolicited fax advertisements to
 12   members of the class using aliases that obscured Defendants’ involvement. The
 13   generalized proof offered by Plaintiffs is the striking similarity of the various fax
 14   advertisements and the frequency with which toll-free numbers listed on these fax
 15   advertisements connected to a Capital Alliance representative. Thus, both the legal
 16   theory and supporting evidence are applicable to the entire class. Under these
 17   circumstances, there is little danger that establishing liability will require a series of
 18   individualized inquiries. See Wolin v. Jaguar Land Rover N. Am., LLC., 617 F.3d
 19   1168, 1173 (9th Cir. 2010) (holding that a putative class action satisfied predominance
 20   when the allegations were susceptible to proof by generalized evidence).
 21         The same analysis holds with respect to the automated call class. Plaintiffs’
 22   theory is that Defendants initiated, or caused to be initiated, automated calls using a
 23   prerecorded voice, specifically from the number 888-364-6330. The evidence offered
 24   is a declaration that the number, when called, connects to Capital Alliance, and call
 25   records containing the unique numbers that connected to the toll-free number. Thus,
 26   there is a common nucleus of fact and law at the core of this litigation, and there is no
 27   indication that individualized inquiries will be necessary to resolve the claims.
 28         The Court is especially confident that predominance has been satisfied in this

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  1   case because Defendants neither contend, nor provide any evidence, that they had an
  2   established business relationship (“EBR”) with recipients of the faxes, or received
  3   prior express consent from recipients of the automated calls. (Reiten Decl. 73:3–14.).
  4   Under the TCPA, a person may, under certain conditions, send unsolicited fax
  5   advertisements to a person with whom the sender has an EBR, and may initiate
  6   automated calls to a person’s cell phone if the recipient has provided prior express
  7   consent. See 47 U.S.C. § 227(b)(1)(C); 47 U.S.C. § 227(b)(1)(A). Thus, the existence
  8   of an EBR or prior express consent raises the possibility of individual differences
  9   among class members. See, e.g., Connelly v. Hilton Grand Vacations Co., LLC, 294
 10   F.R.D. 574, 578 (S.D. Cal. 2013) (holding predominance requirement not satisfied
 11   where the context of class members’ interactions with Defendant was sufficiently
 12   varied to require individual evaluation of whether express consent was provided).
 13   Here, however, Defendants make no showing that the EBR or express consent
 14   exemption applies, and they certainly do not argue that such individual questions
 15   outweigh the common issues. Where a party has not submitted any evidence of an
 16   EBR or express consent, courts will not presume that resolving such issues requires
 17   individualized inquiries. See, e.g., Kristensen, 12 F.Supp.3d at 1307 (“[C]ourts should
 18   ignore a defendant’s argument that proving consent necessitates individualized
 19   inquiries in the absence of any evidence that express consent was actually given.”);
 20   Stern v. DoCircle, Inc., No. SACV 12-2005 AG (JPRx), 2014 WL 486262, at *3 (C.D.
 21   Cal. Jan. 29, 2014) (“Based on the facts before it now, it does not appear that the Court
 22   will have to make individualized determinations of consent. While such
 23   determinations would be necessary if the parties presented individualized evidence of
 24   consent, they haven’t done so.”). Accordingly, the Court finds that common issues
 25   predominate.3
 26
      3
 27     Defendants curiously argue that predominance has not been met because the claims of individual
      class members are governed by different state laws. (Defs.’ Opp’n 14:7–17.) This argument is
 28   without merit. Plaintiffs bring this action alleging violation of the TCPA, a federal statute, for
      which variations in state law are irrelevant.
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  1                 2.     Superiority
  2          Rule 23(b)(3) also requires Plaintiffs to demonstrate “that a class action is
  3   superior to other available methods for fairly and efficiently adjudicating the
  4   controversy.” Fed. R. Civ. P. 23(b)(3). “Where classwide litigation of common issues
  5   will reduce litigation costs and promote greater efficiency, a class action may be
  6   superior to other methods of litigation,” and it is superior “if no realistic alternative
  7   exists.” Valentino v. Carter–Wallace, Inc., 97 F.3d 1227, 1234–35 (9th Cir. 1996).
  8   “This determination necessarily involves a comparative evaluation of alternative
  9   mechanisms of dispute resolution.” Hanlon, 150 F.3d at 1023. Considerations relevant
 10   to this inquiry include “the class members’ interest in individually controlling the
 11   prosecution or defense of separate actions” and “the likely difficulties in managing a
 12   class action.” Fed. R. Civ. P. 23(b)(3)(A); Fed. R. Civ. P. 23(b)(3)(D).
 13          Plaintiffs argue that a class action is a superior method for adjudicating the
 14   claims presented here because most class members would find it prohibitively costly
 15   to litigate their claims individually. (Pls.’ Mot. 24:6–18.) Plaintiffs contend that the
 16   TCPA’s damages provision—allowing claimants to recover up to $500 for each
 17   violation, or $1,500 for each willful violation—is generally insufficient to incentivize
 18   individual litigation. (Id.)
 19          This Court agrees with Plaintiffs. The average consumer considering whether
 20   to bring an individual action alleging a TCPA violation confronts a classic negative-
 21   value suit scenario: the cost of litigating an individual claim outweighs the potential
 22   gains. See Tidmarsh, supra, at 1167–68 (defining negative-value suit). This disparity
 23   between litigation costs and prospective recovery provides “the most compelling
 24   rationale for finding superiority in a class action.” Smith v. Microsoft Corp., 297
 25   F.R.D. 464, 468–69 (S.D. Cal. 2014) (quoting Castano v. Am. Tobacco Co., 84 F.3d
 26   734, 748 (5th Cir. 1996)); see also Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 617
 27   (1997) (“The policy at the very core of the class action mechanism is to overcome the
 28   problem that small recoveries do not provide the incentive for any individual to bring

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  1   a solo action prosecuting his or her rights.”); Wolin, 617 F.3d at 1175 (“Where
  2   recovery on an individual basis would be dwarfed by the cost of litigating on an
  3   individual basis, this factor weighs in favor of class certification.”). Although
  4   Defendants apparently contend that the class members here have sufficient incentive
  5   to pursue a solo action, this assertion is unpersuasive. While an individual does have
  6   the option of bringing a TCPA claim in state small claims court, thus avoiding the
  7   costs of an attorney, that alternative does not provide an equally effective or efficient
  8   method of handling the instant case. Here, Defendants have allegedly concealed their
  9   role in the prohibited conduct through use of nearly a dozen aliases and difficult to
 10   trace toll-free numbers. This fact scenario—one that requires something beyond a
 11   basic reading of the TCPA and its unsettled case law—is thus ill-suited for small
 12   claims litigation. Under these circumstances, $500 (or even $1,500) for each violation
 13   is unlikely to incentivize the average claimant to incur the opportunity costs of time,
 14   effort, and attention to pursue her claim on an individual basis.
 15         Defendants also challenge superiority on the grounds that the “manageability
 16   of the class” will be “exceedingly difficult” because “individualized issues of liability
 17   and damages will devolve into multiple mini-trials.” (Defs.’ Opp’n 15:27–16:1.). This
 18   Court disagrees. As the Court explains in its discussion of the predominance
 19   requirement, common issues dominate this litigation. Defendants have identified no
 20   individual issue of liability or damages that “outweigh the benefits of considering
 21   common issues in one trial.” Zinser, 253 F.3d at 1192. Indeed, Defendants have not
 22   specified any individual issue of liability or damages at all, let alone individual issues
 23   pervasive enough to render class certification inappropriate. To the extent
 24   individualized inquiries might arise, the Court can either handle such issues in the
 25   context of classwide proceedings or, if necessary, revisit certification. Kristensen, 12
 26   F.Supp.3d at 1307 (finding superiority requirement met in a putative TCPA class
 27   action where the Court could review individual affidavits averring lack of consent to
 28   receive text messages sent on behalf of Defendant to Plaintiff’s cell phone).

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  1   Accordingly, the Court finds that Plaintiffs have met the superiority requirement as to
  2   both classes.
  3   IV.   CONCLUSION & ORDER
  4         Jurists and commentators have long debated the merits of the modern class
  5   action and the public policies behind Rule 23. See David Marcus, The History of the
  6   Modern Class Action, Part I: Sturm Und Drang, 1953–1980, 90 Wash. U. L. Rev. 587
  7   (2013) (defining the contours of the debate as one between advocates of a “regulatory
  8   conception” of Rule 23 versus supporters of a more limited “adjectival conception” of
  9   the Rule). It is the view of this Court that the instant case highlights one of the
 10   strongest justifications for the class action device: its regulatory function. See Marcus,
 11   supra, at 590 (explaining that proponents of the “regulatory conception” of Rule 23
 12   view class actions as an important supplement to public administration and as a device
 13   for maximizing regulatory efficacy). A statute such as the TCPA, which provides for
 14   a relatively small recovery for individual violations but is designed to deter conduct
 15   directed against a large number of individuals, can be effectively enforced only if
 16   consumers have available a mechanism that makes it economically feasible to bring
 17   their claims. Without the prospect of a class action suit, corporations balancing the
 18   costs and benefits of violating the TCPA are unlikely to be deterred because individual
 19   claims will not impose the level of liability that would outweigh the potential benefits
 20   of violating the statute. This, of course, does not relieve Plaintiffs of their burden to
 21   meet the requirements for class certification under Rule 23. But Rule 23 analysis
 22   should be conducted in light of the objectives of the statute at issue, not in a vacuum
 23   devoid of policy context. See, e.g., Bateman, 623 F.3d at 716 (“While Rule 23 affords
 24   district courts wide discretion in deciding whether to certify a class, the district court
 25   was obliged to exercise that discretion in light of the objectives of [the Fair and
 26   Accurate Credit Transactions Act].”) In the context of the TCPA, the class action
 27   device likely is the optimal means of forcing corporations to internalize the social
 28   costs of their actions. See, e.g., Myriam Gilles & Gary B. Friedman, Exploding the

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  1   Class Action Agency Costs Myth: The Social Utility of Entrepreneurial Lawyers, 155
  2   U. Pa. L. Rev. 103 (2006) (arguing for the primacy of a deterrence-centric approach
  3   to class actions that views deterrence of corporate wrongdoing as the class action’s
  4   central goal).
  5         Plaintiffs here have met the requirements of Rule 23(a) and Rule 23(b)(3).
  6   Considerations of public policy only confirm what the legal analysis reveals.
  7   Accordingly, the Court GRANTS Plaintiffs’ Motion for Class Certification as set
  8   forth below and ORDERS the following:
  9         1. The following Rule 23(b)(3) classes are CERTIFIED:
 10             Junk Fax Class
 11             All persons or entities in the United States who, on or after four years before
 12             the filing of this action, were sent by or on behalf of Defendants one or more
 13             unsolicited advertisements by telephone facsimile machine that bear the
 14             business name Community, Community Business Funding, Fast Working
 15             Capital, Snap Business Funding, Zoom Capital, Nextday Business Loans,
 16             3DayLoans, Bank Capital, FundQuik, Prompt, or Simple Business Funding.
 17             Automated Call Class
 18             All persons or entities in the United States who, on or after four years before
 19             the filing of this action, received a call on their cellular telephone with a
 20             prerecorded voice message from the number 888-364-6330 that was made
 21             on or behalf of Defendants.
 22         2. Plaintiff Bee, Denning, Inc. is appointed class representative of the junk fax
 23             class.
 24         3. Plaintiff Gregory Chick is appointed class representative of the automated
 25             call class.
 26         4. Pursuant to Federal Rule of Civil Procedure 23(g), the firm Terrell Marshall
 27             Daudt & Willie PLLC is appointed as class counsel.
 28         5. Pursuant to Federal Rule of Civil Procedure 23(c)(2)(B), the parties shall

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  1           meet and confer, and submit to the Court an agreed-upon form of class notice
  2           that will advise individual members of, among other things, the nature of the
  3           action, the relief sought, the right of class members to intervene or opt out,
  4           and the binding effect of a class judgment on members under Rule 23(c)(3).
  5           The parties shall also jointly submit a plan for dissemination of the proposed
  6           notice. The proposed notice and plan of dissemination shall be filed with the
  7           Court on or before December 1, 2015.
  8        Plaintiffs’ ex parte motion for oral argument is DENIED. Defendants’ Motion
  9   to Strike is DENIED.
 10        IT IS SO ORDERED.
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 12   DATED: September 24, 2015
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